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                                                               September 9, 2022

     VIA Email
     Mark Rifkin, Esq,
     Michael Rinaldi, Esq.
     Randall Eng, Esq.

            Re: SEC v. Richard Xia et al., 21-cv-05350-PKC-RER

     Counsel:

     We enclose copies of the SEC’s memorandum of law in opposition to Defendants’
     motion to vacate or modify the asset freezing order, along with the Declaration of
     David Stoelting and supporting exhibits.

     Pursuant to Judge Chen’s text order of August 5, 2022, we are filing this letter on
     ECF and will file the SEC’s opposition papers on ECF once Defendants’ motion is
     fully submitted.

                                                       Respectfully submitted,
                                                       /s/ David Stoelting
                                                       Kevin P. McGrath
                                                       David Stoelting
                                                       Kim Han
                                                       Attorneys for the
                                                       Securities and Exchange
                                                       Commission
